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                      Exhibit A
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 iwhelleresq@gmail.com
 Ira W. Heller, Esq. - ID #001682011
 Attorney(s) for Plaintiff
__________________________________X
 LIGHTNING FUNDING, LLC                            SUPERIOR COURT OF NEW JERSEY
                                                   LAW DIVISION - CIVIL PART
                             Plaintiff,            UNION COUNTY

                      -vs-                         DOCKET NO.:

 MARKEL CORPORATION, together                 CIVIL ACTION
 with subsidiaries EVANSTON
 INSURANCE COMPANY, ESSEX                                  SUMMONS
 INSURANCE COMPANY and MSW
 ADJUSTMENT GROUP, INC.
                          Defendants.
__________________________________X
From The State of New Jersey To The Defendant(s) Named Above:

        The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
this complaint, you or your attorney must file a written answer or motion and proof of service
with the deputy clerk of the Superior Court in the county listed above within 35 days from the
date you received this summons, not counting the date you received it. (A directory of the
addresses of each deputy clerk of the Superior Court is available in the Civil Division
Management Office in the county listed above and online at http://www.judiciamstate.nj.us/pro
se/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must
file your written answer or motion and proof of service with the Clerk of the Superior Court,
Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the
Treasurer, State of New Jersey and a completed Case Information Statement (available from the
deputy clerk of the Superior Court) must accompany your answer or motion when it is filed. You
must also send a copy of your answer or motion to plaintiff’s attorney whose name and address
appear above, or to plaintiff, if no attorney is named above. A telephone call will not protect your
rights; you must file and serve a written answer or motion (with fee of $135.00 and completed
Case Information Statement) if you want the court to hear your defense.

        If you do not file and serve a written answer or motion within 35 days, the court may
enter a judgment against you for the relief plaintiff demands, plus interest and costs of suit. If
judgment is entered against you, the Sheriff may seize your money, wages or property to pay all
or part of the judgment.
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        If you cannot afford an attorney, you may call the Legal Services office in the county
where you live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-
888-576-5529). If you do not have an attorney and are not eligible for free legal assistance, you
may obtain a referral to an attorney by calling one of the Lawyer Referral Services. A directory
with contact information for local Legal Services Offices and Lawyer Referral Services is
available in the Civil Division Management Office in the county listed above and online at
http://www.judiciary.state.nj.us/prose/10153_deptyclerklawref.pdf.

Dated: January 30, 2019


                                          Michelle M. Smith, Esq
                                         ____________________
                                         Michelle M. Smith, Esq., Superior Court Clerk



Name of Party to be Served:
Markel Corporation
535 Springfield Avenue
Summit, NJ 07901




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 Attorney(s) for Plaintiff
__________________________________X
 LIGHTNING FUNDING, LLC                          SUPERIOR COURT OF NEW JERSEY
                                                 LAW DIVISION - CIVIL PART
                            Plaintiff,           UNION COUNTY

                     -vs-                        DOCKET NO.:

 MARKEL CORPORATION, together                    CIVIL ACTION
 with subsidiaries EVANSTON
 INSURANCE COMPANY, ESSEX                                       COMPLAINT
 INSURANCE COMPANY and MSW
 ADJUSTMENT GROUP, INC.
                        Defendants.
__________________________________X


       Plaintiff, LIGHTNING FUNDING, LLC, ("Plaintiff"), with address at 18 Route 22 East,

Hillside, NJ 07205, by way of Complaint against the Defendant, MARKEL CORPORATION,

and against its subsidiaries, EVANSTON INSURANCE COMPANY, and MSW

ADJUSTMENT GROUP, INC., states as follows:

       1.     Plaintiff, Lightening Funding, LLC (“Lightning Funding” or “Plaintiff”) is a

Limited Liability Company, formed in New Jersey on June 6, 2008. Lightning Funding engages

primarily in land and real estate development in New Jersey.

       2.     Defendant, Markel Corporation (“Markel Claims”), is a holding company for

insurance, reinsurance, and investment operations, holding 77 offices in 20 Countries worldwide.

Among the office locations is the Markel Office in New Jersey, located at 535 Springfield

Avenue, in the town of Summit, 07901.
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       3.      Markel Claims works via several subsidiaries, added to this claim as Parties as

follows:

               a. Evanston Insurance Company, a subsidiary of Markel Claims, is a company

                   engaged in the sale of insurance, with a main office in Deerfield, Illinois.

               b. Essex Insurance Company, a subsidiary of Markel Claims, is a company

                   engaged in the sale of insurance, with a main office in 4521 Highwoods

                   Pkwy, Glen Allen, Virginia.

               c. MSW Adjustment Group, Inc., a land inspection company who was

                   contracted by Markel Claims to provide a property assessment, has an office

                   location at 7 Waverly Place, Madison, NJ 07940

       4.      Jurisdiction over Evanston Insurance Company and Evanston Insurance Company

should be presumed obtained by virtue of their acting as subsidiaries to Markel Corporation, who

has a permanent presence in New Jersey, and actively do business in New Jersey.

                                        BACKGROUND

       5.      Lightning Funding, LLC (“Plaintiff”) purchased the building located at 1008

Clinton Avenue (“the building”) on or about February 25, 2010.

       6.      At that time, the building was unoccupied, and thus required an inspection with

photographs to confirm that the building met the criteria of insurability by the insurance

company. The Defendant contracted with the Plaintiff on February 25, 2010 to insure the

Plaintiff’s building, and an inspection with photographs were ordered and paid for by the

Plaintiff. Shortly thereafter, another inspection was performed by Defendant’s inspector and the

policy was issued. The policy was issued by Defendant WITHOUT ANY RESTRICTONS with

the building unoccupied at that time, and empty of any contents.



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       7.      Defendant issued an insurance policy for Plaintiff’s building beginning on

February 25, 2010 for which Plaintiff paid $3085.00 for 2010, $2,777.50 in 2011, $2,777.50 in

2012, $3,040.00 in 2013, $3,090.00 in 2014, $3,300.00 in 2015, and $3,300 in 2016. Plaintiff’s

building was consistently insured by Defendant’s insurance company until the time of the loss

WITHOUT INTERRUPTION.

       8.      The prior owner of 1008 Clinton Avenue performed extensive renovations to the

buildings during the period of July 2, 2008 to October 4, 2009, including, but not limited to,

securing the premises with stronger doors, installing new windows, refinished the floors in the

commercial area as well as the upstairs apartments, replaced the toilets and sinks, spackled and

painted the walls, etc. These renovations were performed with the intention of improving the

building’s appearance, and enhance its marketability.

       9.      On or about November 29, 2017, it was discovered by the Plaintiff that the

building was leaning, and a voluminous amount of trash, construction material and other debris

were impermissibly deposited in the building. The rear door and multiple new windows were

removed and stolen.

       10.     Plaintiff was in touch with Harvey Goodman, AIC, a claims examiner for Markel

Claims, regarding the situation. At the request of Mr. Goodman, Plaintiff hired Zen Architecture,

LLC (“Zen Architecture”) to conduct an inspection in order to assess the damage at the subject

property.

       11.     In January of 2018, Plaintiff arranged for an inspection of the building by Zen

Architecture, and on January 18, 2018, received a letter from the inspector stating his assessment

that the building was no longer structurally sound, and needed to be demolished. Plaintiff




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forwarded this letter to Defendant, thus alerting the company to the fact that he had suffered a

loss and would thus be filing an insurance claim to recover for his loss.

       12.     Upon review of the letter, Mr. Goodman put Plaintiff in touch with Glen Walker,

Partner at MSW Claims. Mr. Walker told Plaintiff that he would be conducting his own

investigation of the subject property before issuing a decision regarding the claim.

       13.     On April 17, 2018, Glen Walker told the Plaintiff that he had completed his

investigation and that his visual inspection found the building to be in the same “leaning”

condition as per a 2017 inspection. Plaintiff requested a copy of Glen Walker’s report regarding

his investigation as well as a copy of the 2017 inspection report that Mr. Walker was referencing

in his later report. Mr. Walker refused to supply either report and refused to identify who issued

the report in 2017 until Plaintiff agreed to submit a “signed waiver.” Plaintiff questioned Mr.

Walker as to why he had to sign a waiver in order to receive a copy of the report, but Mr. Walker

refused to provide an answer.

       14.     Moving forward, Defendant retained MSW Construction Group, LLC, on May 1,

2018 to inspect the building. Plaintiff met the inspector, Mr. Daniel S. Davies (“Mr. Davies” or

“inspector”) at the subject property and Mr. Davies merely conducted a visual inspection,

because as he stated, he couldn’t walk more than three steps into the building due to the massive

debris. On May 18, 2018, the inspector, Mr. Davies issued a report in which he attempted to

explain the state of the building. However, Mr. Davies’ report was fraught with numerous

contradictions and misstatements, clearly in furtherance of his predetermined agenda of

justifying a denial of Plaintiff’s insurance claim.

       15.     The inspector’s report was fraught with blaring misstatements, some examples of

which I cite below:



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            a. Inspector states that the objective of the investigation was to offer an opinion

                of the cause of the “cracks in the garage and exterior stucco.” This is patently

                false, as at no time was there ever a discussion about an inspector going in for

                this purpose, but rather, the entire purpose of hiring the inspector was the

                leaning condition of the building.

            b. Inspector stated in his report that “the upper floors do not have windows” and

                that the “rear door was open.” Inspector, therefore, in mentioning these facts,

                insinuates that these facts were due to failure of Plaintiff to care for the

                premises, when in fact, these were the result of recent vandalism rather than

                deficient duty of care. As earlier stated, the prior owner had installed new

                windows, which were stolen, and the back door was open because it had been

                pried open by vandals, who were responsible for dumping the debris.

                Inspector’s report blatantly ignored these facts (despite the fact that they had

                been previously reported to the insurance company), and as a result, stated

                completely wrongful conclusions in the report.

            c. Inspector blames Plaintiff for “lack of maintenance,” without any seeming

                knowledge or acknowledgment of the fact that in excess of $100,000 had been

                invested to renovate the building, which was virtually destroyed by vandals

                who broke into the b.

            d. Inspector references a Google Maps photo to state that the building was

                observed to be leaning in 2012, in support of his assessment. If this was the

                case, then the burden must fall upon Defendant to explain why they reinsured




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                     the building and accepted Plaintiff’s insurance premiums, year after year since

                     that time.

                  e. Inspector openly admits that he did not access the basement or the upper

                     floors, rendering his inspection of the building incomplete. His visual

                     inspection was limited to taking three steps into the rear of the building.

                     Further access was restricted due to the massive debris which blocked both the

                     stairway to the upstairs apartments as well as the stairway to the basement.

                     The inspector had no access to the front of the building. Inspector attributes

                     the state of the structure to “exposure to the elements,” but had absolutely no

                     facts to support this assessment. Specifically, the inspector had no idea as to

                     how long the building had been exposed, nor did he have any knowledge with

                     regard to when the vandalism occurred.

        16.       For these and other numerous reasons that will be further stated in the course of

the matter, Defendant wrongfully rejected Plaintiff’s insurance claim, and stated no valid reason

for its denial.

        17.       Subsequent to denying Plaintiff’s claim, Defendant offered Plaintiff the

opportunity to avail himself of their “internal appeals process,” which Plaintiff did. Not

surprisingly, Defendant rejected Plaintiff’s appeal, still without stating any valid basis for their

wholesale denial of Plaintiff’s claim.

                           FIRST COUNT: BREACH OF CONTRACT

        18.       Plaintiff repeats and realleges each and every allegation set forth in paragraphs

“1” through “16” with the same force and effect as though fully set forth at length herein.

        19.       Plaintiff entered into a viable and enforceable contract with Defendant to insure



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 his building at 1008 Clinton Avenue.

            20.   Valid consideration was exchanged for such contract, which was renewed every

 year subsequently in order to provide insurance for Plaintiff’s building in the event of a loss.

            21.   Plaintiff suffered a loss when multiple inspectors determined that the building was

 no longer viable, and would thus need to be demolished.

            22.   Defendant subsequently refused to compensate Plaintiff for his loss, despite the

 fact that Plaintiff was clearly covered for the loss under the insurance contract between the

 Parties.

            23.   Notwithstanding the above, Defendant skewed and ignore the facts in order to

 avoid compensating Plaintiff for his loss for which he was contractually insured. Even after

 Plaintiff clearly pointed out Defendant’s errors and omissions in an appeal submitted under the

 Defendant’s “internal appeals process,” they persisted in their unjustified denial of Plaintiff’s

 claim.

            24.   Accordingly, Defendant is in blatant breach of the terms of their contract with

 Plaintiff to insure his building, and must be held liable to compensate Plaintiff for his loss, plus

 the costs of pursuing this action.

                                  SECOND COUNT: BAD FAITH

            25.   Plaintiff repeats and realleges each and every allegation set forth in paragraphs

 “1” through “23” with the same force and effect as though fully set forth at length herein.

            26.   New Jersey law has established clear standards for insurance companies,

 requiring good faith dealing with their customers in settling their insurance claims (see Rova

 Farms Resort v. Investors Ins. Co., 323 A. 2d 495 – NJ: Supreme Court 1974)

            27.   Nevertheless, Defendant chose to deal in bad faith, despite the fact that Plaintiff’s



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 claim was clearly viable and justified, Defendant nonetheless breached its responsibility by

 producing inspection reports that evaded and skewed the facts, and on that basis, denied

 Plaintiff’s claim.

         28.     Defendant then doubled down on the evasion of its responsibility in denying

 Plaintiff’s appeal, citing no viable reason for the denial, thus showing repeated bad faith.

         29.     Defendant clearly gambled on the prospect that Plaintiff would not pursue legal

 action, due to the effort and expense involved. Nevertheless, Plaintiff has done so, and should be

 additionally compensated by Defendant for his expenses, which are solely attributable to

 Defendant’s shameless bad faith.

         JUDGMENT IS DEMANDED THEREFOR in the amount of $100,000 for the

 purchase price of the building, together with damages, costs, interest and legal fees. Plaintiff

 waves any amount in excess of the jurisdictional limits.

         I CERTIFY that the dispute about which I am suing is not the subject of any other action

 pending in any other court or a pending arbitration proceeding to the best of my knowledge and

 belief. Also, to the best of my knowledge and belief no other action or arbitration proceeding is

 contemplated. Further, other than the parties set forth in this complaint, I know of no other

 parties that should be made a part of this lawsuit. In addition, I recognize my continuing

 obligation to file and serve on all parties and the court an amended certification if there is a

 change in the facts stated in this original certification.




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        The Plaintiff demands trial by a jury on all of the triable issues of this complaint,

 pursuant to New Jersey Court Rules 1:8-2(b) and 4:35-1(a).


 Dated: February 12, 2019




                                                                     Ira W. Heller, Esq.
                                                                     Attorney for Plaintiff




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                        Civil Case Information Statement
 Case Details: UNION | Civil Part Docket# L-000585-19

Case Caption: LIGHTNING FUNDING, L LC VS MARKEL                  Case Type: CONTRACT/COMMERCIAL TRANSACTION
CORPORATION                                                      Document Type: Complaint with Jury Demand
Case Initiation Date: 02/13/2019                                 Jury Demand: YES - 6 JURORS
Attorney Name: IRA W HELLER                                      Hurricane Sandy related? NO
Firm Name: IRA HELLER LAW                                        Is this a professional malpractice case? NO
Address: 1282 NORTH BROAD ST                                     Related cases pending: NO
HILLSIDE NJ 07205                                                If yes, list docket numbers:
Phone:                                                           Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : Lightning Funding, LLC                transaction or occurrence)? NO
Name of Defendant’s Primary Insurance Company
(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 02/13/2019                                                                                               /s/ IRA W HELLER
 Dated                                                                                                               Signed
